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  EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                       No. 1:21-cv-02900-CJN
        v.

HERRING NETWORKS, INC.,                              Magistrate Judge Moxila A. Upadhyaya

                   Defendant.


              DECLARATION OF OLIVIA E. SULLIVAN IN SUPPORT OF
                PLAINTIFFS’ MOTION TO COMPEL DEFENDANT’S
                        PRODUCTION OF DOCUMENTS

        I, Olivia E. Sullivan, make this declaration pursuant to 28 U.S.C. § 1746. I hereby declare

under penalty of perjury that the following is true and correct:

        1.     I am an attorney at Benesch, Friedlander, Coplan & Aronoff LLP and counsel for

Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation

(collectively, “Smartmatic”) in this action. As such, I am fully familiar with the facts and

circumstances of the matters stated in this declaration.

        2.     Smartmatic served its First Set of Requests for Production (“RFPs”) on October 21,

2022.

        3.     From January 2023 through mid-April 2023, counsel for Smartmatic and counsel

for OANN met and conferred on seven occasions to discuss deficiencies in OANN’s responses to

written discovery, several of which pertained to OANN’s production of documents. These meet-

and-confers resulted in the parties’ agreement to make rolling document productions on February

3, March 3, and April 7, 2023.




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       4.      On February 3, 2023, OANN produced 56 documents. On March 3, 2023, OANN

produced 41 documents. On April 7, OANN failed to produce documents, despite the parties’

previous agreement to do so. Considering that OANN was also refusing to negotiate search terms

or identify custodians, I believed that OANN was not participating in the discovery process in

good faith.

       5.      After Smartmatic threatened to move to compel OANN’s production of documents,

the parties agreed to a revised production schedule, under which OANN was to produce documents

in response to Smartmatic’s First Set of RFPs on April 28, May 5, and May 19, 2023. OANN’s

counsel promised to abide by the agreed dates.

       6.      OANN’s counsel then informed me on April 20, 2023, that OANN would not meet

any of the agreed deadlines and again requested additional time to produce documents. I informed

OANN’s counsel that Smartmatic would not agree to OANN’s request to delay the discovery

process further. OANN then failed to produce documents on any of the agreed deadlines.

       7.      On May 5, 2023, the parties submitted their Joint Notice of Unresolved Discovery

Disputes (“Joint Notice”) to the Court. In the Joint Notice, Smartmatic sought leave to file a motion

to compel OANN to adhere to the agreed production deadlines, agree to a completion date for

document production, identify relevant witnesses, and produce financial documents.

       8.      By the parties’ May 19 production deadline, Smartmatic had produced 473,818

documents in total. OANN had produced 97 documents as of that same date. On May 24, 2023,

OANN produced an additional 186,000 documents, which consisted mostly of irrelevant and

publicly available news alerts.




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       9.     On July 31, 2023, Smartmatic served its Second Set of Requests for Production on

OANN.

       10.    OANN served its Objections and Responses to Smartmatic’s Second Set of RFPs

on August 30, 2023. OANN objected on the grounds that Smartmatic’s Second Set of RFPs is

untimely and refused to produce any responsive documents pursuant to that objection.

       11.    Counsel for Smartmatic and OANN met and conferred about OANN’s Objections

and Responses on September 6, 2023. During our meeting, I explained why OANN’s refusal to

produce documents in response to Smartmatic’s Second Set of RFPs was improper. I further

informed OANN’s counsel that Smartmatic would move to compel OANN’s production of the

responsive documents over OANN’s objection based on timeliness.

       12.    On September 7, 2023, I sent a letter to OANN’s counsel in which I again detailed

the reasons why Smartmatic’s Second Set of RFPs was properly and timely served.

       13.    On September 14, 2023, OANN served its Supplemental Objection to Smartmatic’s

Second Set of RFPs, in which OANN again refused to produce any responsive documents pursuant

to the same objection based on timeliness.

       14.    To date, Smartmatic has produced more than 2,283,759 documents, whereas

OANN has produced 244,368 documents. OANN’s production excludes important information

relevant to Smartmatic’s damages, such as information related to the defamatory program’s

viewership and ratings.

       15.    Despite our attempts to resolve this dispute, counsel has been unable to reach an

amicable resolution.




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      I declare under penalty of perjury that the foregoing is true and correct.




Date: December 6, 2023




                                             Olivia E. Sullivan, Illinois Bar No. 6330520
                                             Benesch, Friedlander, Coplan & Aronoff LLP
                                             71 South Wacker Drive, Suite 1600
                                             Chicago, Illinois 60606-4637
                                             312.212.4949


                                             Attorney for Plaintiffs Smartmatic USA Corp.,
                                             Smartmatic International Holding B.V., and SGO
                                             Corporation Limited




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